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5
6    Attorney for Defendant
     PAMELA STEPHANIE EMANUEL
7
8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )   Case No. 2:17-CR-0060 MCE
                                                )
12       Plaintiff,                             )
                                                )   UNOPPOSED MOTION TO ALLOW
13                vs.                           )   CONFIDENTIAL ADA ACCESS FOR JAIL
                                                )   ASSESSMENT AND EVALUATION
14    PAMELA STEPHANIE EMANUEL,                 )
                                                )
15       Defendant.                             )   Judge: Hon. Allison Claire
                                                )
16                                              )
                                                )
17
18
            Counsel for defendant Pamela Emanuel has retained Dr. Linda S. Barnard, a licensed
19
     Marriage & Family Therapist based in Sacramento, to consult with Ms. Emanuel confidentially
20
     in advance of sentencing and in anticipation of Ms. Emanuel’s further incarceration at the BOP.
21
     Dr. Barnard, who uses a wheelchair, requires ADA access to the jail and also requires
22
     confidential, face-to-face, hands-free, access in order to confer with Ms. Emanuel. The jail
23
     presently requires a court order for that purpose, which it typically can accommodate in the
24
     second-floor lineup room.
25
            Counsel files this motion on the public record in order to avoid the needless placement of
26
     a “sealed event” on the docket which he would, in any event, explain the nature of to the
27
     government. The scheduled evaluation, however, is intended to be confidential and by filing this
28
     motion Ms. Emanuel does not waive her rights to keep health care information private under the

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1    Health Insurance Portability and Accountability Act (HIPAA) or under the Fifth and Sixth
2    Amendments and under attorney work-product doctrine. Dr. Barnard has been retained by
3    defense counsel.
4           Counsel therefore moves the Court to issue the attached order directing the jail to afford
5    Dr. Barnard confidential, face-to-face, hands-free ADA access for purposes of her evaluation.
6           Government counsel advises that it has reviewed this motion and does not oppose it.
7           A proposed order follows for the Court’s convenience.
8                                                  Respectfully submitted,
                                                   HEATHER E. WILLIAMS
9                                                  Federal Defender
10
11   Dated: March 4, 2020                          /s/ T. Zindel
                                                   TIMOTHY ZINDEL
12                                                 Assistant Federal Defender
                                                   Attorney for PAMELA EMANUEL
13
14
15
                                               ORDER
16
17
18          Defense counsel having retained Dr. Linda S. Barnard to perform a confidential
19   assessment or evaluation of Pamela S. Emanuel, the Sacramento County Jail is hereby ordered to
20
     afford Dr. Barnard an ADA accessible accommodation to evaluate Ms. Emanuel, with
21
     confidential, hands-free, face-to-face access for purposes of the assessment and evaluation, at a
22
     time to be arranged by Dr. Barnard and jail officials.
23
24          IT IS SO ORDERED.

25
     Dated: March 4, 2020
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